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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



   UNITED STATES OF AMERICA

                                                   Criminal Action No. 21-00107 (RDM)
                 v.

   BRUNO JOSEPH CUA


      NOTICE OF FILING OF DECLARATION OF THIRD-PARTY CUSTODIAN

       Bruno Joseph Cua, through undersigned counsel, hereby submits the following notice of

the filing of a declaration from his third-party custodian for the week of January 30 through

February 6, 2023. Pursuant to this Court’s March 10, 2021 Memorandum Opinion and Order

(ECF No. 25), and other orders in this case concerning Mr. Cua’s release conditions, Mr. Cua

attaches to this notice a declaration of third-party custodian Dr. Alise Cua attesting that Mr. Cua

has complied with the conditions of pre-trial release imposed by this Court for the period of

January 30 through February 6, 2023.

                                                      Respectfully submitted,

DATED: February 7, 2023                               /s/ William E. Zapf
                                                      Jonathan Jeffress (D.C. Bar No. 479074)
                                                      William E. Zapf (D.C. Bar No. 987213)
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                                                      Attorneys for Bruno Joseph Cua
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                                CERTIFICATE OF SERVICE
       I hereby certify that on this 7th day of February, 2023, I filed the foregoing with the

Clerk of the United States District Court for the District of Columbia by using the CM/ECF

system, which system I understand has provided electronic notice counsel of record.



Dated: February 7, 2023                      /s/ William E. Zapf
                                             William E. Zapf
